                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

UNITED STATES OF AMERICA                              )
                                                      )       Case No. 1:15-cr-123-TRM-SKL-4
v.                                                    )
                                                      )
RANDY BORN                                            )


                             REPORT AND RECOMMENDATION

       Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on March 1, 2017.

At the hearing, defendant moved to withdraw his not guilty plea to Count One of the eight-count

Indictment and entered a plea of guilty to the lesser included offense of the charge in Count One,

that is of conspiracy to distribute and possess with intent to distribute a mixture and substance

containing methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846,

841(a)(1), and 841(b)(1)(C) in exchange for the undertakings made by the government in the written

plea agreement. On the basis of the record made at the hearing, I find the defendant is fully capable

and competent to enter an informed plea; the plea is made knowingly and with full understanding

of each of the rights waived by defendant; the plea is made voluntarily and free from any force,

threats, or promises, apart from the promises in the plea agreement; the defendant understands the

nature of the charge and penalties provided by law; and the plea has a sufficient basis in fact.

       Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

One of the Indictment be granted, his plea of guilty to the lesser included offense of the charge in

Count One of the Indictment, that is of conspiracy to distribute and possess with intent to distribute

a mixture and substance containing methamphetamine, a Schedule II controlled substance, in

violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C) be accepted, the Court adjudicate

defendant guilty of the lesser included offense of the charge in Count One of the Indictment, that



Case 1:15-cr-00123-TRM-SKL            Document 71 Filed 03/01/17             Page 1 of 2      PageID
                                            #: 397
is of conspiracy to distribute and possess with intent to distribute a mixture and substance containing

methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1),

and 841(b)(1)(C), and a decision on whether to accept the plea agreement be deferred until

sentencing. I further RECOMMEND defendant remain in custody until sentencing in this matter.

Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and imposition of

sentence are specifically reserved for the district judge.


                                               s/ fâátÇ ^A _xx
                                               SUSAN K. LEE
                                               UNITED STATES MAGISTRATE JUDGE



                                      NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
of guilty in this matter. See 28 U.S.C. §636(b).




                                                  2


Case 1:15-cr-00123-TRM-SKL            Document 71 Filed 03/01/17              Page 2 of 2      PageID
                                            #: 398
